
BAR ADMISSIONS PROCEEDING
PER CURIAM
|, The Committee on Bar Admissions (“Committee”) declined to allow petitioner *909to sit for the Louisiana Bar Examination. On petitioner’s application to this court, we granted him permission to take the bar exam, with the condition that upon his successful completion of the exam, he apply for the appointment of a commissioner to take character and fitness evidence.
After petitioner passed the bar exam, he applied for the appointment of a commissioner. We remanded the matter to the Committee on Bar Admissions Panel on Character and Fitness to conduct an investigation and appointed a commissioner to take character and fitness evidence. Following the proceedings, the commissioner filed his report with this court, recommending petitioner be admitted to the practice of law. Neither party objected to this recommendation.
Considering the commissioner’s recommendation, the absence of any objection from the Committee, and the entire record of this proceeding, we conclude petitioner is eligible to be admitted to the practice of law in Louisiana. Accordingly, it is ordered that the application for admission be and hereby is granted.
ADMISSION GRANTED.
